                                                                                                                                                Case 13-33972-PGH                          Doc 1           Filed 10/04/13                    Page 1 of 38
                                                                                                          B1 (Official Form 1) (04/13)
                                                                                                                                                      United States Bankruptcy Court                                                                            Voluntary Petition
                                                                                                                                                        Southern District of Florida
                                                                                                           Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                            Rossi, Denise
                                                                                                           All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                           (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                            None

                                                                                                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                          (if more than one, state all): 2149                                               (if more than one, state all):

                                                                                                           Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                            2376 Lena Lane
                                                                                                            West Palm Beach, FL                                                 ZIPCODE                                                                                             ZIPCODE
                                                                                                                                                                                     33415
                                                                                                           County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                                            Palm Beach
                                                                                                           Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                               ZIPCODE                                                                                              ZIPCODE

                                                                                                           Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                    ZIPCODE

                                                                                                                         Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
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                                                                                                                     (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                         (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                               Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
                                                                                                               See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                               Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                               Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                               Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                               check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                                    Chapter 13
                                                                                                                                                                                  Other N.A.                                                                   Nonmain Proceeding
                                                                                                                             Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                        (Check box, if applicable)                                    (Check one box)
                                                                                                           Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                            Debts are
                                                                                                                                                                                      Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                            primarily
                                                                                                           Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                                                                                                                            business debts.
                                                                                                           regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                                    personal, family, or
                                                                                                                                                                                                                                    household purpose."
                                                                                                                                       Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                                   Check one box:
                                                                                                                  Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                          Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                  Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                                  signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                  to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                                                                                                                         on 4/01/16 and every three years thereafter).
                                                                                                                                                                                                                     Check all applicable boxes
                                                                                                                  Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                         A plan is being filed with this petition.
                                                                                                                  attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                         Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                         classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                            Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                    COURT USE ONLY
                                                                                                              Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                              Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                              distribution to unsecured creditors.
                                                                                                          Estimated Number of Creditors

                                                                                                           1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                            5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                          Estimated Assets

                                                                                                          $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                           million       million          million          million            million
                                                                                                          Estimated Liabilities

                                                                                                          $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                            million      million          million          million            million
                                                                                                                                   Case
                                                                                                          B1 (Official Form 1) (04/13)                 13-33972-PGH                   Doc 1          Filed 10/04/13               Page 2 of 38                                       Page 2
                                                                                                          Voluntary Petition                                                                           Name of Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                        Denise Rossi
                                                                                                                                   All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                          Location                                                                              Case Number:                                       Date Filed:
                                                                                                          Where Filed:           NONE

                                                                                                           Location                                                                             Case Number:                                       Date Filed:
                                                                                                           Where Filed:
                                                                                                                                 N.A.
                                                                                                                     Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                           Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                                           District:                                                                             Relationship:                                     Judge:


                                                                                                                                          Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                                          (To be completed if debtor is an individual
                                                                                                          (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                                                          10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                          Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting             I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                          relief under chapter 11)                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                                   12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                                   available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                                   debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                                   Exhibit A is attached and made a part of this petition.                         X        /s/ Stephen P. Orchard                               October 3, 2013
                                                                                                                                                                                                        Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                                        Exhibit C
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                                                                                                          Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                                   Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                                   No.


                                                                                                                                                                                         Exhibit D
                                                                                                            (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                           If this is a joint petition:
                                                                                                                       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                      Information Regarding the Debtor - Venue
                                                                                                                                                                                   (Check any applicable box)
                                                                                                                                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                                   preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                                   has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                                   this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                                    (Check all applicable boxes)
                                                                                                                                   Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                                   (Name of landlord that obtained judgment)


                                                                                                                                                                                    (Address of landlord)
                                                                                                                                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                                   entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                                   filing of the petition.
                                                                                                                                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                                                            Case 13-33972-PGH                      Doc 1         Filed 10/04/13                   Page 3 of 38
                                                                                                          B1 (Official Form 1) (04/13)                                                                                                                                                    Page 3
                                                                                                          Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                 Denise Rossi
                                                                                                                                                                                         Signatures
                                                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                                            is true and correct.
                                                                                                            [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                            has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                            chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                            available under each such chapter, and choose to proceed under chapter 7.
                                                                                                            [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                            petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                            I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                            I request relief in accordance with the chapter of title 11, United States                      Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                                            Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                            Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                            title 11 specified in this petition. A certified copy of the order granting
                                                                                                                                                                                                            recognition of the foreign main proceeding is attached.
                                                                                                            X /s/ Denise Rossi
                                                                                                                Signature of Debtor                                                                X
                                                                                                                                                                                                       (Signature of Foreign Representative)
                                                                                                            X
                                                                                                                Signature of Joint Debtor

                                                                                                                                                                                                        (Printed Name of Foreign Representative)
                                                                                                                 Telephone Number (If not represented by attorney)
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                                                                                                                 October 3, 2013
                                                                                                                                                                                                         (Date)
                                                                                                                 Date

                                                                                                                                 Signature of Attorney*                                                     Signature of Non-Attorney Petition Preparer
                                                                                                           X       /s/ Stephen P. Orchard
                                                                                                                Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                                  as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                                STEPHEN P. ORCHARD 580724                                                         and have provided the debtor with a copy of this document and the notices and
                                                                                                                Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                                  information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                                  rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                                Law Offices of Stephen Orchard                                                    setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                                2255 Glades Road, Suite 324A                                                      document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                                Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                                Boca Raton, FL 33431
                                                                                                                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                                561-455-7961 sporchard@orchardlaw.com
                                                                                                               Telephone Number                                  e-mail
                                                                                                                                                                                                  Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                                October 3, 2013                                                                   state the Social Security number of the officer, principal, responsible person or
                                                                                                              Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                           *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                           certification that the attorney has no knowledge after an inquiry that the
                                                                                                           information in the schedules is incorrect.                                              Address

                                                                                                                   Signature of Debtor (Corporation/Partnership)
                                                                                                             I declare under penalty of perjury that the information provided in this petition
                                                                                                             is true and correct, and that I have been authorized to file this petition on       X
                                                                                                             behalf of the debtor.

                                                                                                             The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                             United States Code, specified in this petition.
                                                                                                                                                                                                     Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                                     person, or partner whose Social Security number is provided above.
                                                                                                           X
                                                                                                                Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                                     not an individual:
                                                                                                                Printed Name of Authorized Individual
                                                                                                                                                                                                     If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                                     conforming to the appropriate official form for each person.
                                                                                                                Title of Authorized Individual
                                                                                                                                                                                                     A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                                     and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                               Date
                                                                                                                                                                                                     imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                                                    Case 13-33972-PGH       Doc 1    Filed 10/04/13   Page 4 of 38

                                                                                                          B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                       Southern District of Florida




                                                                                                                Denise Rossi
                                                                                                          In re______________________________________                             Case No._____________
                                                                                                                         Debtor(s)                                                      (if known)


                                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
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                                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                          collection activities.

                                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                          any documents as directed.

                                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                          developed through the agency.

                                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                          no later than 14 days after your bankruptcy case is filed.
                                                                                                                                   Case 13-33972-PGH            Doc 1    Filed 10/04/13    Page 5 of 38
                                                                                                          B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                                  Page 2


                                                                                                                  3. I certify that I requested credit counseling services from an approved agency but
                                                                                                          was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                          following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                          so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                 If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                          counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                          promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                          copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                          requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                          can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                          be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                          without first receiving a credit counseling briefing.

                                                                                                                 4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                          applicable statement.] [Must be accompanied by a motion for determination by the court.]
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                                                                                                                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                 illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                 decisions with respect to financial responsibilities.);
                                                                                                                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                 extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                 briefing in person, by telephone, or through the Internet.);
                                                                                                                         Active military duty in a military combat zone.

                                                                                                                 5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                          counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                 I certify under penalty of perjury that the information provided above is true and
                                                                                                          correct.



                                                                                                                                       Signature of Debtor:             /s/ Denise Rossi
                                                                                                                                                                        DENISE ROSSI

                                                                                                                                                                    October 3, 2013
                                                                                                                                                           Date: _________________
                                                                                                                     Case 13-33972-PGH           Doc 1     Filed 10/04/13      Page 6 of 38




                                                                                                          B6 Cover (Form 6 Cover) (12/07)



                                                                                                          FORM 6. SCHEDULES

                                                                                                          Summary of Schedules
                                                                                                          Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                          Schedule A - Real Property
                                                                                                          Schedule B - Personal Property
                                                                                                          Schedule C - Property Claimed as Exempt
                                                                                                          Schedule D - Creditors Holding Secured Claims
                                                                                                          Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                          Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                          Schedule G - Executory Contracts and Unexpired Leases
                                                                                                          Schedule H - Codebtors
                                                                                                          Schedule I - Current Income of Individual Debtor(s)
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                                                                                                          Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                          Unsworn Declaration under Penalty of Perjury


                                                                                                          GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                          amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                          identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                          the case number should be left blank

                                                                                                          Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                          claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                          A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                          which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                          the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                          transactions, each claim should be scheduled separately.

                                                                                                          Review the specific instructions for each schedule before completing the schedule.
                                                                                                                                       Case
                                                                                                          B6A (Official Form 6A) (12/07)           13-33972-PGH               Doc 1        Filed 10/04/13                              Page 7 of 38

                                                                                                          In re    Denise Rossi                                                                          Case No.
                                                                                                                                     Debtor                                                                                                    (If known)

                                                                                                                                                          SCHEDULE A - REAL PROPERTY
                                                                                                             Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                          tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                          the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                          “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                          “Description and Location of Property.”

                                                                                                            Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                              If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                          claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                             If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                          Property Claimed as Exempt.




                                                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                                                                           OF DEBTOR’S
                                                                                                                        DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN      AMOUNT OF
                                                                                                                               OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT     SECURED
                                                                                                                                                                                                                                         DEDUCTING ANY        CLAIM
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                                                                                                                                                                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                          OR EXEMPTION



                                                                                                           Homestead Townhouse                                           Fee Simple                                                            47,000.00      112,000.00
                                                                                                           2376 Lena Lane
                                                                                                           West Palm Beach, FL 33415




                                                                                                                                                                                                        Total
                                                                                                                                                                                                                                               47,000.00

                                                                                                                                                                                                        (Report also on Summary of Schedules.)
                                                                                                                                      Case
                                                                                                          B6B (Official Form 6B) (12/07)                           13-33972-PGH       Doc 1       Filed 10/04/13        Page 8 of 38

                                                                                                          In re     Denise Rossi                                                                             Case No.
                                                                                                                                            Debtor                                                                                 (If known)

                                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                                               Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                          place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                          identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                          community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                          individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                              Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                                If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                          If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                          "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                                        HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                               CURRENT VALUE OF




                                                                                                                                                                                                                                          OR COMMUNITY
                                                                                                                                                                                                                                                               DEBTOR’S INTEREST
                                                                                                                                                                     N                                                                                            IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                               O                  DESCRIPTION AND LOCATION                                                    WITHOUT
                                                                                                                                                                     N                        OF PROPERTY                                                       DEDUCTING ANY
                                                                                                                                                                     E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                                                 OR EXEMPTION
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                                                                                                            1. Cash on hand.                                             Cash                                                                                            20.00
                                                                                                                                                                         2376 Lena Lane
                                                                                                                                                                         West Palm Beach, FL 33415

                                                                                                            2. Checking, savings or other financial accounts,        X
                                                                                                            certificates of deposit, or shares in banks, savings
                                                                                                            and loan, thrift, building and loan, and homestead
                                                                                                            associations, or credit unions, brokerage houses,
                                                                                                            or cooperatives.


                                                                                                            3. Security deposits with public utilities,              X
                                                                                                            telephone companies, landlords, and others.

                                                                                                            4. Household goods and furnishings, including                Couch, table, bedroom furnishings, television, computer                                        300.00
                                                                                                            audio, video, and computer equipment.
                                                                                                                                                                         2376 Lena Lane
                                                                                                                                                                         West Palm Beach, FL 33415

                                                                                                            5. Books. Pictures and other art objects,                    Books and personal photographs of value only to debtor                                           1.00
                                                                                                            antiques, stamp, coin, record, tape, compact disc,
                                                                                                            and other collections or collectibles.                       2376 Lena Lane
                                                                                                                                                                         West Palm Beach, FL 33415

                                                                                                            6. Wearing apparel.                                          Women's Clothing                                                                                25.00
                                                                                                                                                                         2376 Lena Lane
                                                                                                                                                                         West Palm Beach, FL 33415

                                                                                                            7. Furs and jewelry.                                     X
                                                                                                            8. Firearms and sports, photographic, and other          X
                                                                                                            hobby equipment.
                                                                                                          B6B (Official Form 6B) (12/07)Case
                                                                                                                                         -- Cont.13-33972-PGH               Doc 1    Filed 10/04/13       Page 9 of 38

                                                                                                          In re     Denise Rossi                                                               Case No.
                                                                                                                                            Debtor                                                              (If known)

                                                                                                                                                               SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                        (Continuation Sheet)




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                            CURRENT VALUE OF




                                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                                            DEBTOR’S INTEREST
                                                                                                                                                                   N                                                                           IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                             O         DESCRIPTION AND LOCATION                                            WITHOUT
                                                                                                                                                                   N               OF PROPERTY                                               DEDUCTING ANY
                                                                                                                                                                   E                                                                         SECURED CLAIM
                                                                                                                                                                                                                                              OR EXEMPTION


                                                                                                            9. Interests in insurance policies. Name               X
                                                                                                            insurance company of each policy and itemize
                                                                                                            surrender or refund value of each.

                                                                                                            10. Annuities. Itemize and name each issuer.           X
                                                                                                            11. Interests in an education IRA as defined in 26     X
                                                                                                            U.S.C. § 530(b)(1) or under a qualified State
                                                                                                            tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                            Give particulars. (File separately the record(s) of
                                                                                                            any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                            12. Interests in IRA, ERISA, Keogh, or other           X
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                                                                                                            pension or profit sharing plans. Give particulars.

                                                                                                            13. Stock and interests in incorporated and            X
                                                                                                            unincorporated businesses. Itemize.

                                                                                                            14. Interests in partnerships or joint ventures.       X
                                                                                                            Itemize.

                                                                                                            15. Government and corporate bonds and other           X
                                                                                                            negotiable and non-negotiable instruments.

                                                                                                            16. Accounts receivable.                               X
                                                                                                            17. Alimony, maintenance, support, and property        X
                                                                                                            settlement to which the debtor is or may be
                                                                                                            entitled. Give particulars.

                                                                                                            18. Other liquidated debts owing debtor including      X
                                                                                                            tax refunds. Give particulars.

                                                                                                            19. Equitable or future interests, life estates, and   X
                                                                                                            rights or powers exercisable for the benefit of the
                                                                                                            debtor other than those listed in Schedule A - Real
                                                                                                            Property.

                                                                                                            20. Contingent and noncontingent interests in          X
                                                                                                            estate or a decedent, death benefit plan, life
                                                                                                            insurance policy, or trust.

                                                                                                            21. Other contingent and unliquidated claims of        X
                                                                                                            every nature, including tax refunds, counterclaims
                                                                                                            of the debtor, and rights of setoff claims. Give
                                                                                                            estimated value of each.

                                                                                                            22. Patents, copyrights, and other intellectual        X
                                                                                                            property. Give particulars.

                                                                                                            23. Licenses, franchises, and other general            X
                                                                                                            intangibles. Give particulars.
                                                                                                                                     Case
                                                                                                          B6B (Official Form 6B) (12/07)      13-33972-PGH
                                                                                                                                         -- Cont.                       Doc 1     Filed 10/04/13          Page 10 of 38

                                                                                                          In re     Denise Rossi                                                              Case No.
                                                                                                                                            Debtor                                                                     (If known)

                                                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                     (Continuation Sheet)




                                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                        CURRENT VALUE OF




                                                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                                                        DEBTOR’S INTEREST
                                                                                                                                                                 N                                                                                         IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                           O        DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                                                 N              OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                                                 E                                                                                       SECURED CLAIM
                                                                                                                                                                                                                                                          OR EXEMPTION


                                                                                                            24. Customer lists or other compilations             X
                                                                                                            containing personally identifiable information (as
                                                                                                            defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                            debtor by individuals in connection with obtaining
                                                                                                            a product or service from the debtor primarily for
                                                                                                            personal, family, or household purposes.

                                                                                                            25. Automobiles, trucks, trailers, and other         X
                                                                                                            vehicles and accessories.

                                                                                                            26. Boats, motors, and accessories.                  X
                                                                                                            27. Aircraft and accessories.                        X
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                                                                                                            28. Office equipment, furnishings, and supplies.     X
                                                                                                            29. Machinery, fixtures, equipment, and supplies     X
                                                                                                            used in business.

                                                                                                            30. Inventory.                                       X
                                                                                                            31. Animals.                                         X
                                                                                                            32. Crops - growing or harvested. Give               X
                                                                                                            particulars.

                                                                                                            33. Farming equipment and implements.                X
                                                                                                            34. Farm supplies, chemicals, and feed.              X
                                                                                                            35. Other personal property of any kind not          X
                                                                                                            already listed. Itemize.




                                                                                                                                                                              0                                                                         $
                                                                                                                                                                                     continuation sheets attached        Total                                   346.00
                                                                                                                                                                                     (Include amounts from any continuation
                                                                                                                                                                                       sheets attached. Report total also on
                                                                                                                                                                                             Summary of Schedules.)
                                                                                                                                          Case 13-33972-PGH              Doc 1       Filed 10/04/13           Page 11 of 38
                                                                                                            B6C (Official Form 6C) (04/13)


                                                                                                          In re    Denise Rossi                                                                    Case No.
                                                                                                                                    Debtor                                                                               (If known)

                                                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                            Debtor claims the exemptions to which debtor is entitled under:
                                                                                                            (Check one box)

                                                                                                                  11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                  $155,675*.
                                                                                                                  11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                     CURRENT
                                                                                                                                                                         SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                      DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
                                                                                                                                                                          EXEMPTION                        EXEMPTION                EXEMPTION




                                                                                                              No exemptions claimed.
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                                                                                                           *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                                      Case 13-33972-PGH                                          Doc 1      Filed 10/04/13              Page 12 of 38

                                                                                                          B6D (Official Form 6D) (12/07)

                                                                                                                   Denise Rossi
                                                                                                          In re _______________________________________________,                                                               Case No. _________________________________
                                                                                                                                        Debtor                                                                                                                                (If known)

                                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                    State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                          by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                          such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                          address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                          §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                          include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                          husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                          "Husband, Wife, Joint, or Community."
                                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                          labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                          one of these three columns.)
                                                                                                                    Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                          labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                          Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                          the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                                                                                                                                                         AMOUNT
                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                                CONTINGENT
                                                                                                                                                                                              DATE CLAIM WAS INCURRED,                                                      OF
                                                                                                                                                         CODEBTOR




                                                                                                                                                                                                                                                            DISPUTED
                                                                                                                                                                       ORCOMMUNITY




                                                                                                                     CREDITOR’S NAME,
                                                                                                                      MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                      CLAIM            UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                        WITHOUT            PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                      DEDUCTING            IF ANY
                                                                                                                     (See Instructions Above.)                                                     SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                                                                                                                       COLLATERAL


                                                                                                          ACCOUNT NO. 7096030106                                                           Lien: First Mortgage                                                                             65,083.00
                                                                                                          Ocwen Loan Servicing L                                                           Creditor paid pursuant to Florida
                                                                                                          12650 Ingenuity Dr                                                               Hardest Hit Fund
                                                                                                                                                                                                                                                                         112,083.00
                                                                                                          Orlando, FL 32826

                                                                                                                                                                                            VALUE $                47,000.00
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                           VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                            VALUE $

                                                                                                             0
                                                                                                           _______continuation sheets attached                                                                                 Subtotal     $                            112,083.00   $     65,083.00
                                                                                                                                                                                                                       (Total of this page)
                                                                                                                                                                                                                                   Total    $                            112,083.00   $     65,083.00
                                                                                                                                                                                                                    (Use only on last page)
                                                                                                                                                                                                                                                             (Report also on       (If applicable, report
                                                                                                                                                                                                                                                             Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                   Summary of Certain
                                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                                   Data.)
                                                                                                                                     Case 13-33972-PGH                    Doc 1        Filed 10/04/13             Page 13 of 38
                                                                                                          B6E (Official Form 6E) (04/13)


                                                                                                                    Denise Rossi
                                                                                                             In re________________________________________________________________,                         Case No.______________________________
                                                                                                                                     Debtor                                                                               (if known)

                                                                                                                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                            unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                            address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                            property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                            the type of priority.

                                                                                                                   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                            the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                            "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                            entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                            both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                            Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                            in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                            more than one of these three columns.)

                                                                                                                  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                            Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
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                                                                                                            amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                            primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                            amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                            with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                            Data.



                                                                                                                Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                           TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                                 Domestic Support Obligations

                                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                          or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                          11 U.S.C. § 507(a)(1).


                                                                                                                 Extensions of credit in an involuntary case

                                                                                                                Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                                 Wages, salaries, and commissions

                                                                                                                   Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                           independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                           cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                                 Contributions to employee benefit plans

                                                                                                                      Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                              cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                   *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                            B6E (Official Form 6E) (04/13) - Cont.

                                                                                                                        Denise Rossi
                                                                                                                In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                        Debtor                                                                            (if known)




                                                                                                                 Certain farmers and fishermen
                                                                                                               Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                                 Deposits by individuals
                                                                                                               Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                           that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                                 Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                               Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
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                                                                                                                 Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                              Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                           Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                           U.S.C. § 507 (a)(9).



                                                                                                                 Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                                Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                                 * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                                 adjustment.




                                                                                                                                                                     0
                                                                                                                                                                    ____ continuation sheets attached
                                                                                                                                          Case 13-33972-PGH                                           Doc 1      Filed 10/04/13        Page 15 of 38
                                                                                                          B6F (Official Form 6F) (12/07)

                                                                                                                   Denise Rossi
                                                                                                           In re __________________________________________,                                                                   Case No. _________________________________
                                                                                                                                          Debtor                                                                                                                           (If known)

                                                                                                                SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                           against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                           useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                           of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                           1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                           appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                           community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                           "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                                     Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                           Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                           Related Data.
                                                                                                                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                            UNLIQUIDATED
                                                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                               CONTINGENT
                                                                                                                                                               CODEBTOR




                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                      CREDITOR’S NAME,                                                                                                                                                    AMOUNT
                                                                                                                       MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                        OF
                                                                                                                     INCLUDING ZIP CODE,
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                                                                                                                                                                                                                 SO STATE.                                                                 CLAIM
                                                                                                                    AND ACCOUNT NUMBER
                                                                                                                      (See instructions above.)

                                                                                                          ACCOUNT NO.                                                                            Consideration: Homeowners Association
                                                                                                          Alpine Villas West                                                                     Dues (7/2011 through petition date)
                                                                                                          c/o Dicker Krivok & Stoloff                                                                                                                                                           11,748.62
                                                                                                          1818 Australian Ave., Suite 400
                                                                                                          West Palm Beach, FL 33409


                                                                                                          ACCOUNT NO.                                                                            Consideration: Insurance Premiums
                                                                                                          Amica Insurance
                                                                                                          100 Amica Way                                                                                                                                                                            250.00
                                                                                                          Lincoln, RI 02865-1167



                                                                                                          ACCOUNT NO.         14893513                                                           Consideration: Revolving Credit Card debt
                                                                                                          Apex Inc
                                                                                                          100 Main St                                                                                                                                                                     Notice Only
                                                                                                          Pawtucket, RI 02860



                                                                                                          ACCOUNT NO.         5329000997923340                                                   Consideration: Revolving Credit Card debt
                                                                                                          Bank Of America
                                                                                                          Po Box 982235                                                                                                                                                                          5,471.00
                                                                                                          El Paso, TX 79998




                                                                                                                4
                                                                                                              _______continuation sheets attached                                                                                            Subtotal                                 $         17,469.62
                                                                                                                                                                                                                              Total                                                   $
                                                                                                                                                                               (Use only on last page of the completed Schedule F.)
                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.)
                                                                                                                                       Case 13-33972-PGH                                            Doc 1       Filed 10/04/13           Page 16 of 38
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Denise Rossi
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      6181
                                                                                                          Bank Of America
                                                                                                          Po Box 982235                                                                                                                                                                         Notice Only
                                                                                                          El Paso, TX 79998
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                                                                                                          ACCOUNT NO.      28978584
                                                                                                          Bank of America*
                                                                                                          Attn: Correspondence                                                                                                                                                                  Notice Only
                                                                                                          Unit/CA6-919-02-41
                                                                                                          PO Box 5170
                                                                                                          Simi Valley, CA, 93062

                                                                                                          ACCOUNT NO.      28978584
                                                                                                          Bank Of America, N.a.
                                                                                                          4161 Piedmont Pkwy                                                                                                                                                                    Notice Only
                                                                                                          Greensboro, NC 27410



                                                                                                          ACCOUNT NO.      4366133033365908                                                  Consideration: Revolving Credit Card debt
                                                                                                          Chase
                                                                                                          P.o. Box 15298                                                                                                                                                                              22,077.00
                                                                                                          Wilmington, DE 19850



                                                                                                           ACCOUNT NO.     5410658425988258                                                  Consideration: Revolving Credit Card debt
                                                                                                          Citi
                                                                                                          Po Box 6241                                                                                                                                                                                 17,302.00
                                                                                                          Sioux Falls, SD 57117



                                                                                                                     1 of _____continuation
                                                                                                          Sheet no. _____    4                sheets attached                                                                                     Subtotal                                  $         39,379.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                       Case 13-33972-PGH                                            Doc 1       Filed 10/04/13           Page 17 of 38
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Denise Rossi
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      5410658425988258
                                                                                                          Citibank Sd, Na*
                                                                                                          Citi Corp Credit                                                                                                                                                                      Notice Only
                                                                                                          Services/Attn:Centralized Bankruptcy
                                                                                                          7920 NW 110th St
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                                                                                                          Kansas City, MO, 64195

                                                                                                          ACCOUNT NO.      7096030106
                                                                                                          City Ntl Bk/Ocwen Loan Service*
                                                                                                          Attn: Bankruptcy                                                                                                                                                                      Notice Only
                                                                                                          P.O. Box 24738
                                                                                                          West Palm Beach, FL, 33416


                                                                                                          ACCOUNT NO.                                                                        Attorneys for creditor Alpine Villas West
                                                                                                          Dicker Krivok & Stoloff                                                            HOA
                                                                                                          1818 Australian Ave., Suite 400                                                                                                                                                       Notice Only
                                                                                                          West Palm Beach, FL 33409



                                                                                                          ACCOUNT NO.      6930321450918
                                                                                                          Homeq Servicing
                                                                                                          P.o. Box 13716                                                                                                                                                                        Notice Only
                                                                                                          Sacramento, CA 95853



                                                                                                           ACCOUNT NO.     41134974                                                          Consideration: Mortgage Loan
                                                                                                                                                                                             Debtor believes that this debt is one and the
                                                                                                          Litton Loan Servicing                                                              same as Ocwen identified on Schedule D;
                                                                                                          4828 Loop Central Dr                                                               however this item appears as disclosed on                                                               115,805.00
                                                                                                          Houston, TX 77081                                                                  Debtor's credit report.



                                                                                                                     2 of _____continuation
                                                                                                          Sheet no. _____    4                sheets attached                                                                                     Subtotal                                  $        115,805.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                       Case 13-33972-PGH                                            Doc 1       Filed 10/04/13           Page 18 of 38
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Denise Rossi
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      1020010103486
                                                                                                          Peoples Choice Home Lo
                                                                                                          7515 Irvine Center Dr                                                                                                                                                                 Notice Only
                                                                                                          Irvine, CA 92618
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                                                                                                          ACCOUNT NO.      1020010180549
                                                                                                          Peoples Choice Home Lo
                                                                                                          7525 Irvine Center                                                                                                                                                                    Notice Only
                                                                                                          Irvine, CA 92618



                                                                                                          ACCOUNT NO.                                                                        Overdrawn Bank Account - believed closed
                                                                                                          PNC Bank                                                                           by PNC
                                                                                                          12850 FOREST HILL BOULEVARD                                                                                                                                                           Notice Only
                                                                                                          WELLINGTON, FL 33414



                                                                                                          ACCOUNT NO.      4311967500029976                                                  Consideration: Revolving Credit Card debt
                                                                                                          Pnc Bank Na
                                                                                                          Po Box 3180                                                                                                                                                                                 10,532.00
                                                                                                          Pittsburgh, PA 15230



                                                                                                           ACCOUNT NO.     30018699
                                                                                                          Popular Mortgage Srvci
                                                                                                          121 Woodcrest Rd                                                                                                                                                                      Notice Only
                                                                                                          Cherry Hill, NJ 08003



                                                                                                                     3 of _____continuation
                                                                                                          Sheet no. _____    4                sheets attached                                                                                     Subtotal                                  $         10,532.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Denise Rossi
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      1020010103486
                                                                                                          Rushmore Loan Management Services*
                                                                                                          Attn: Bankruptcy                                                                                                                                                                      Notice Only
                                                                                                          15480 Laguna Canyon Rd
                                                                                                          Irvine, CA, 92619
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                                                                                                          ACCOUNT NO.      41030130
                                                                                                          Southwest Credit Syste
                                                                                                          5910 W Plano Pkwy Ste 10                                                                                                                                                                       75.00
                                                                                                          Plano, TX 75093



                                                                                                          ACCOUNT NO.      41030130
                                                                                                          Southwest Credit Syste*
                                                                                                          4120 International Parkway Suite 1100                                                                                                                                                 Notice Only
                                                                                                          Carrollton, TX, 75007



                                                                                                          ACCOUNT NO.




                                                                                                           ACCOUNT NO.




                                                                                                                     4 of _____continuation
                                                                                                          Sheet no. _____    4                sheets attached                                                                                     Subtotal                                  $            75.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $       183,260.62
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                        Case 13-33972-PGH                  Doc 1        Filed 10/04/13            Page 20 of 38
                                                                                                          B6G (Official Form 6G) (12/07)


                                                                                                                  Denise Rossi                                                               Case No.
                                                                                                          In re
                                                                                                                                    Debtor                                                                               (if known)

                                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                            State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                            names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                            contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                            guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                  Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                             DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                                  NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                                     OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                                                      Case 13-33972-PGH                   Doc 1       Filed 10/04/13            Page 21 of 38
                                                                                                          B6H (Official Form 6H) (12/07)




                                                                                                          In re   Denise Rossi                                                              Case No.
                                                                                                                                   Debtor                                                                              (if known)


                                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                                                              Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                          debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                          property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                          Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                          name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                          commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                          commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                          parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                          Fed. Bankr. P. 1007(m).
                                                                                                              Check this box if debtor has no codebtors.



                                                                                                                        NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                                                      Case 13-33972-PGH                 Doc 1       Filed 10/04/13           Page 22 of 38
                                                                                                          B6I (Official Form 6I) (12/07)


                                                                                                                       Denise Rossi
                                                                                                          In re                                                                                       Case
                                                                                                                                 Debtor                                                                                  (if known)
                                                                                                                                 SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                          The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                                          filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                                          calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                                           Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                                           Status:   Single                RELATIONSHIP(S): No dependents                                                    AGE(S):
                                                                                                           Employment:                             DEBTOR                                                                 SPOUSE
                                                                                                           Occupation                        Unemployed
                                                                                                           Name of Employer
                                                                                                           How long employed
                                                                                                           Address of Employer                                                                                              N.A.


                                                                                                          INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                                          1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                                              0.00
                                                                                                                                                                                                                     $ _____________                  N.A.
                                                                                                                                                                                                                                            $ _____________
                                                                                                                (Prorate if not paid monthly.)
                                                                                                          2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                                     $ _____________                  N.A.
                                                                                                                                                                                                                                            $ _____________
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                                                                                                          3. SUBTOTAL                                                                                                          0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                          4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                                               0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                                  a.   Payroll taxes and social security
                                                                                                                                                                                                                               0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                                  b.   Insurance
                                                                                                                  c.   Union Dues                                                                                              0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                                  d.   Other (Specify:___________________________________________________________)                             0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________

                                                                                                          5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                    0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________

                                                                                                          6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                                  0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________

                                                                                                          7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                             (Attach detailed statement)
                                                                                                          8. Income from real property                                                                                         0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                          9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                          10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                                               0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                             debtor’s use or that of dependents listed above.
                                                                                                          11. Social security or other government assistance
                                                                                                                                                                                                                               0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                             ( Specify)
                                                                                                          12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                          13. Other monthly incomeFinancial Assistance from Nephew                                                          500.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                              (Specify)                                                                                                        0.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________
                                                                                                          14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                                            500.00           $ _____________
                                                                                                                                                                                                                                                      N.A.
                                                                                                          15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                  500.00
                                                                                                                                                                                                                      $ _____________                 N.A.
                                                                                                                                                                                                                                             $ _____________

                                                                                                          16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                               $ _____________
                                                                                                                                                                                                                                           500.00
                                                                                                              from line 15)
                                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                                 on Statistical Summary of Certain Liabilities and Related Data)

                                                                                                          17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                                   None
                                                                                                                                      Case
                                                                                                             B6J (Official Form 6J) (12/07)      13-33972-PGH              Doc 1       Filed 10/04/13           Page 23 of 38

                                                                                                           In re Denise Rossi                                                                        Case No.
                                                                                                                                    Debtor                                                                             (if known)

                                                                                                                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                       Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                                            filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                                            calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                                  Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                                  labeled “Spouse.”


                                                                                                          1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                                          0.00
                                                                                                                     a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                                     b. Is property insurance included?                 Yes ________ No ________
                                                                                                          2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                                       200.00
                                                                                                                         b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                                         80.00
                                                                                                                         c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                                         25.00
                                                                                                                                   cable/internet
                                                                                                                         d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                                         80.00
                                                                                                          3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                                       200.00
                                                                                                          5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                                         25.00
                                                                                                          6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                                          0.00
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                                                                                                          8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          11.Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                                     a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                                     b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                                     c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                                     d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                                     e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                                          (Specify)                                                                                                                            $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                                     a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                                          0.00
                                                                                                                     b. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                                     c. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          17. Other                                                                                                                            $______________
                                                                                                                                                                                                                                                          0.00
                                                                                                          18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                                       610.00
                                                                                                          if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                                          19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                                    None


                                                                                                          20. STATEMENT OF MONTHLY NET INCOME
                                                                                                                  a. Average monthly income from Line 15 of Schedule I                                                                               500.00
                                                                                                                                                                                                                                            $ ______________
                                                                                                                  b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                                     610.00
                                                                                                                  c. Monthly net income (a. minus b.)                                                                                               -110.00
                                                                                                                                                                                                                                            $ ______________
                                                                                                                                        Case 13-33972-PGH                Doc 1       Filed 10/04/13          Page 24 of 38

                                                                                                                B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                                     United States Bankruptcy Court
                                                                                                                                                                Southern District of Florida
                                                                                                                            Denise Rossi
                                                                                                               In re                                                                                        Case No.
                                                                                                                                                                Debtor
                                                                                                                                                                                                            Chapter        7

                                                                                                                                                               SUMMARY OF SCHEDULES
                                                                                                          Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                          I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                          claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                          Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                                     AMOUNTS SCHEDULED
                                                                                                                                                         ATTACHED
                                                                                                            NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                                            A – Real Property
                                                                                                                                                                                              $
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                                                                                                                                                         YES                     1                  47,000.00

                                                                                                            B – Personal Property
                                                                                                                                                         YES                     3            $        346.00

                                                                                                            C – Property Claimed
                                                                                                                as exempt                                YES                     1

                                                                                                            D – Creditors Holding
                                                                                                               Secured Claims                            YES                     1                                  $     112,083.00

                                                                                                            E - Creditors Holding Unsecured
                                                                                                                Priority Claims                          YES                     2                                  $           0.00
                                                                                                               (Total of Claims on Schedule E)
                                                                                                            F - Creditors Holding Unsecured
                                                                                                                Nonpriority Claims                       YES                     5                                  $     183,260.62

                                                                                                            G - Executory Contracts and
                                                                                                                Unexpired Leases                         YES                     1

                                                                                                            H - Codebtors
                                                                                                                                                         YES                     1

                                                                                                            I - Current Income of
                                                                                                                Individual Debtor(s)                     YES                     1                                                        $       500.00

                                                                                                            J - Current Expenditures of Individual
                                                                                                                Debtors(s)                               YES                     1                                                        $       610.00


                                                                                                                                                 TOTAL                           17           $     47,346.00       $     295,343.62
                                                                                                            Official Form 6 - Statistical Summary (12/07)
                                                                                                                               Case 13-33972-PGH                            Doc 1      Filed 10/04/13          Page 25 of 38
                                                                                                                                                United States Bankruptcy Court
                                                                                                                                                                  Southern District of Florida

                                                                                                                       In re       Denise Rossi                                                            Case No.
                                                                                                                                                                 Debtor
                                                                                                                                                                                                           Chapter       7

                                                                                                          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                               If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                          §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                          information here.

                                                                                                          This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                          Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                                             Type of Liability                                                           Amount

                                                                                                             Domestic Support Obligations (from Schedule E)                             $
                                                                                                                                                                                                    0.00
                                                                                                             Taxes and Certain Other Debts Owed to Governmental Units (from             $
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                                                                                                             Schedule E)
                                                                                                                                                                                                    0.00
                                                                                                             Claims for Death or Personal Injury While Debtor Was Intoxicated (from     $
                                                                                                             Schedule E) (whether disputed or undisputed)                                           0.00
                                                                                                             Student Loan Obligations (from Schedule F)                                 $           0.00
                                                                                                             Domestic Support, Separation Agreement, and Divorce Decree                 $
                                                                                                             Obligations Not Reported on Schedule E                                                 0.00
                                                                                                             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                                                                                                                        $           0.00
                                                                                                             (from Schedule F)

                                                                                                                                                                              TOTAL     $           0.00


                                                                                                            State the Following:
                                                                                                             Average Income (from Schedule I, Line 16)                                  $         500.00
                                                                                                             Average Expenses (from Schedule J, Line 18)                                $         610.00
                                                                                                             Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                             22B Line 11; OR, Form 22C Line 20 )                                        $
                                                                                                                                                                                                  500.00



                                                                                                            State the Following:
                                                                                                             1. Total from Schedule D, “UNSECURED PORTION, IF
                                                                                                             ANY” column
                                                                                                                                                                                                           $      65,083.00

                                                                                                             2. Total from Schedule E, “AMOUNT ENTITLED TO                              $
                                                                                                             PRIORITY” column.
                                                                                                                                                                                                    0.00

                                                                                                             3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                             $
                                                                                                             PRIORITY, IF ANY” column                                                                                  0.00

                                                                                                             4. Total from Schedule F                                                                      $     183,260.62
                                                                                                             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                  $     248,343.62
                                                                                                                                           Case (12/07)
                                                                                                                B6 (Official Form 6 - Declaration) 13-33972-PGH                                                  Doc 1              Filed 10/04/13                         Page 26 of 38
                                                                                                                          Denise Rossi
                                                                                                                In re                                                                                                                                        Case No.
                                                                                                                                                       Debtor                                                                                                                                   (If known)

                                                                                                                                                DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                                    19
                                                                                                                           I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                                                are true and correct to the best of my knowledge, information, and belief.



                                                                                                                 Date       October 3, 2013                                                                                           Signature:          /s/ Denise Rossi
                                                                                                                                                                                                                                                                                         Debtor


                                                                                                                 Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                                (Joint Debtor, if any)

                                                                                                                                                                                                                                             [If joint case, both spouses must sign.]
                                                                                                             -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                         DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                           compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                           110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                           by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                           accepting any fee from the debtor, as required by that section.
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                                                                                                           Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                           of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                            If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                            who signs this document.




                                                                                                            Address

                                                                                                            X
                                                                                                                                 Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                          18 U.S.C. § 156.
                                                                                                          -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                                I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                          or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                          in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                          shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                          Date                                                                                                                 Signature:


                                                                                                                                                                                                                                                [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                           [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                           -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                  Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                          B7 (Official Form 7) (04/13)   Case 13-33972-PGH                 Doc 1        Filed 10/04/13            Page 27 of 38
                                                                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                                                                                                                     Southern District of Florida

                                                                                                            In Re Denise Rossi                                                                                     Case No.
                                                                                                                                                                                                                                    (if known)


                                                                                                                                                               STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                              This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                                    the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                                    information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                                    filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                                    provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                                    indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                                    or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                                    R. Bankr. P. 1007(m).

                                                                                                                              Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                                    must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
                                                                                                                    space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
                                                                                                                    (if known), and the number of the question.

                                                                                                                    DEFINITIONS

                                                                                                                               "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                                    individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
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                                                                                                                    the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                                    the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                                    employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                                    in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                               "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                                    their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                                    percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                                    such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                                               1. Income from employment or operation of business

                                                                                                                               State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                               the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                                   None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                               two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                               the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                               of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                               under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                               spouses are separated and a joint petition is not filed.)

                                                                                                                                         AMOUNT                                              SOURCE

                                                                                                                       2013                 0.00     Unemployed

                                                                                                                       2012                 0.00     Unemployed

                                                                                                                       2011               261.00     1099 Employment Income
                                                                                                                              Case 13-33972-PGH                      Doc 1        Filed 10/04/13              Page 28 of 38
                                                                                                          B7 (Official Form 7) (04/13)                                                                                                                 2




                                                                                                                     2.   Income other than from employment or operation of business

                                                                                                          None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                                     of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                                     particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                                     12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                                     separated and a joint petition is not filed.)

                                                                                                                      AMOUNT                                                                SOURCE




                                                                                                                     3. Payments to creditors
                                                                                                          None

                                                                                                                     Complete a. or b., as appropriate, and c.
                                                                                                                     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                                     goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                     this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                                     Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                                     or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                                     counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                                                          NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                                         PAYMENTS                                PAID                  OWING




                                                                                                          None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                                     within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                                     constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk
                                                                                                                     (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                                     alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                          *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after date of adjustment.

                                                                                                          NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                           AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING
                                                                                                                              Case 13-33972-PGH                     Doc 1        Filed 10/04/13             Page 29 of 38
                                                                                                          B7 (Official Form 7) (04/13)                                                                                                             3




                                                                                                          None

                                                                                                                     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                                     for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                                     include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF CREDITOR                                 DATES OF                        AMOUNT PAID             AMOUNT STILL
                                                                                                            AND RELATIONSHIP TO DEBTOR                                  PAYMENTS                                                   OWING


                                                                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                          None       a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                                     preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                     information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                           CAPTION OF SUIT                   NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                                          AND CASE NUMBER                                                               AGENCY AND LOCATION                          DISPOSITION

                                                                                                          Alpine Villas West    Civil - Association Lien                                  Circuit Court, 15th Judicial           Pending
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                                                                                                          Homeowners            Foreclosure                                               Circuit, Palm Beach County,
                                                                                                          Association, Inc. v.                                                            Florida
                                                                                                          Denise A. Rossi; Case
                                                                                                          No.
                                                                                                          502013CA005269XXXXMB
                                                                                                          (AW)


                                                                                                          None       b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                                     one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                                     13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                                     unless the spouses are separated and a joint petition is not filed.)


                                                                                                             NAME AND ADDRESS OF                                           DATE OF                                        DESCRIPTION AND
                                                                                                           PERSON FOR WHOSE BENEFIT                                        SEIZURE                                       VALUE OF PROPERTY
                                                                                                             PROPERTY WAS SEIZED


                                                                                                                     5.   Repossessions, foreclosures and returns

                                                                                                          None             List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                                     lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                                     both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND                                    DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                             ADDRESS OF                                    FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                          CREDITOR OR SELLER                              TRANSFER OR RETURN
                                                                                                                              Case 13-33972-PGH                    Doc 1        Filed 10/04/13             Page 30 of 38
                                                                                                          B7 (Official Form 7) (04/13)                                                                                                           4




                                                                                                                     6. Assignments and Receiverships

                                                                                                          None       a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                                     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                                     assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                                     joint petition is not filed.)


                                                                                                                   NAME AND                                      DATE OF ASSIGNMENT                                  TERMS OF
                                                                                                                  ADDRESS OF                                                                                        ASSIGNMENT
                                                                                                                    ASSIGNEE                                                                                       OR SETTLEMENT


                                                                                                          None       b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                                     year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                                     must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                                     the spouses are separated and a joint petition is not filed.)


                                                                                                                   NAME AND                            NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                                  ADDRESS OF                           OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                                  CUSTODIAN                                 & NUMBER
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                                                                                                                     7.   Gifts

                                                                                                          None            List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                                     case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                                     member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                                     12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                                     unless the spouses are separated and a joint petition is not filed.)


                                                                                                                 NAME AND                               RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                                ADDRESS OF                            TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                          PERSON OR ORGANIZATION


                                                                                                                     8.   Losses

                                                                                                          None                List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                                     commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                                     chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                                     separated and a joint petition is not filed.)


                                                                                                              DESCRIPTION                              DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                               AND VALUE                                  WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                              OF PROPERTY                                     INSURANCE, GIVE PARTICULARS
                                                                                                                              Case 13-33972-PGH                   Doc 1        Filed 10/04/13            Page 31 of 38
                                                                                                          B7 (Official Form 7) (04/13)                                                                                                         5




                                                                                                                     9.   Payments related to debt counseling or bankruptcy

                                                                                                          None            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                                     for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                                     bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                      NAME AND ADDRESS                         DATE OF PAYMENT,                              AMOUNT OF MONEY OR
                                                                                                                          OF PAYEE                             NAME OF PAYOR IF                                DESCRIPTION AND
                                                                                                                                                              OTHER THAN DEBTOR                               VALUE OF PROPERTY

                                                                                                          Law Offices of Stephen Orchard                October 3, 2013                                 $1,194.00
                                                                                                          2255 Glades Road, Suite 324A                  Payor: Richard Rossi
                                                                                                          Boca Raton, FL 33431

                                                                                                          Law Offices of Stephen Orchard                October 3, 2013                                 $306.00 (case filing fee)
                                                                                                          2255 Glades Road, Suite 324A                  Payor: Richard Rossi
                                                                                                          Boca Raton, FL 33431


                                                                                                                     10. Other transfers

                                                                                                          None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
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                                                                                                                     of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                                     of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                                     whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                                  RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                                    VALUE RECEIVED


                                                                                                                     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                                     to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                          None

                                                                                                                 NAME OF TRUST OR OTHER DEVICE                                 DATE(S) OF                     AMOUNT OF MONEY OR
                                                                                                                                                                              TRANSFER(S)                       DESCRIPTION AND
                                                                                                                                                                                                             VALUE OF PROPERTY OR
                                                                                                                                                                                                          DEBTOR'S INTEREST IN PROPERTY
                                                                                                                              Case 13-33972-PGH                    Doc 1        Filed 10/04/13            Page 32 of 38
                                                                                                          B7 (Official Form 7) (04/13)                                                                                                          6




                                                                                                                     11. Closed financial accounts

                                                                                                          None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                                     were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                                     Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                                     accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                                     institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                                     instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                                   NAME AND                             TYPE OF ACCOUNT, LAST FOUR                                        AMOUNT AND
                                                                                                                  ADDRESS OF                            DIGITS OF ACCOUNT NUMBER,                                         DATE OF SALE
                                                                                                                  INSTITUTION                          AND AMOUNT OF FINAL BALANCE                                         OR CLOSING


                                                                                                                     12. Safe deposit boxes

                                                                                                          None                List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                                     valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                                     chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                                     is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                                                                      NAME AND                        NAMES AND ADDRESSES OF                   DESCRIPTION OF               DATE OF
                                                                                                                   ADDRESS OF BANK                   THOSE WITH ACCESS TO BOX                    CONTENTS                 TRANSFER OR
                                                                                                                 OR OTHER DEPOSITORY                      OR DEPOSITORY                                                 SURRENDER, IF ANY


                                                                                                                     13. Setoffs

                                                                                                          None              List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                                     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                     information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                                 NAME AND ADDRESS OF CREDITOR                                    DATE                                  AMOUNT
                                                                                                                                                                                  OF                                      OF
                                                                                                                                                                                SETOFF                                  SETOFF

                                                                                                                     14. Property held for another person

                                                                                                          None            List all property owned by another person that the debtor holds or controls.


                                                                                                                     NAME AND                                DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                                  ADDRESS OF OWNER                          VALUE OF PROPERTY
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                                                                                                                     15. Prior address of debtor
                                                                                                          None
                                                                                                                            If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                                     premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                                     joint petition is filed, report also any separate address of either spouse.


                                                                                                                   ADDRESS                                           NAME USED                                   DATES OF OCCUPANCY



                                                                                                                     16. Spouses and Former Spouses
                                                                                                          None
                                                                                                                         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                                     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                                     eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                                     any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                                   NAME


                                                                                                                     17. Environmental Sites
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                                                                                                                     For the purpose of this question, the following definitions apply:

                                                                                                                     "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                                     releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                                     other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                                     wastes, or material.

                                                                                                                                "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                                presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                                "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                                hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                          None
                                                                                                                     a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                                     unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                                     governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                                  SITE NAME                           NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                 AND ADDRESS                        OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                                     b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                                     of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                          None

                                                                                                                  SITE NAME                           NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                 AND ADDRESS                        OF GOVERNMENTAL UNIT                       NOTICE                       LAW
                                                                                                                              Case 13-33972-PGH                      Doc 1         Filed 10/04/13          Page 34 of 38
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                                                                                                                     c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                                     with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                          None       was a party to the proceeding, and the docket number.


                                                                                                                    NAME AND ADDRESS                                  DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                                  OF GOVERNMENTAL UNIT


                                                                                                                     18. Nature, location and name of business

                                                                                                          None       a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                     businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                                     managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                     other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                     which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                                     preceding the commencement of this case.

                                                                                                                     If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                     beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                     voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                     If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                     beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
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                                                                                                                     voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                            NAME              LAST FOUR DIGITS OF                    ADDRESS                 NATURE OF BUSINESS BEGINNING AND
                                                                                                                              SOCIAL-SECURITY OR                                                                ENDING DATES
                                                                                                                               OTHER INDIVIDUAL
                                                                                                                                TAXPAYER-I.D. NO.
                                                                                                                              (ITIN)/ COMPLETE EIN


                                                                                                                     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                     U.S.C. § 101.
                                                                                                          None

                                                                                                                     NAME                                                                                ADDRESS




                                                                                                                                  [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                       *    *    *    *   *    *
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                                                                                                                       B7 (Official Form 7) (04/13)                                                                                                                                         9



                                                                                                                       [If completed by an individual or individual and spouse]

                                                                                                                       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                                       thereto and that they are true and correct.
                                                                                                                      October 3, 2013                                                                                /s/ Denise Rossi
                                                                                                          Date                                                                            Signature
                                                                                                                                                                                          of Debtor                  DENISE ROSSI




                                                                                                                                                                                  0 continuation sheets attached
                                                                                                                                                                                _____


                                                                                                                              Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                                  DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
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                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                          compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                          rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                          have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                          in that section.




                                                                                                          Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                                          If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                          partner who signs this document.




                                                                                                          Address

                                                                                                          X
                                                                                                          Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                          not an individual:

                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                          or imprisonment or both. 18 U.S.C. §156.
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                                                                                                          B8 (Official Form 8) (12/08)


                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                        Southern District of Florida
                                                                                                                  Denise Rossi
                                                                                                          In re                                                         ,         Case No.
                                                                                                                                         Debtor                                                       Chapter 7



                                                                                                                                   CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                           PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                           secured by property of the estate. Attach additional pages if necessary.)


                                                                                                             Property No. 1
                                                                                                            Creditor's Name:                                                 Describe Property Securing Debt:
                                                                                                             Ocwen Loan Servicing L                                            Homestead Townhouse
                                                                                                             12650 Ingenuity Dr
                                                                                                             Orlando, FL 32826

                                                                                                             Property will be (check one):
                                                                                                                       Surrendered                           Retained

                                                                                                             If retaining the property, I intend to (check at least one):
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                                                                                                                        Redeem the property
                                                                                                                        Reaffirm the debt
                                                                                                                        Other. Explain _______________________________________________(for example, avoid lien
                                                                                                             using 11 U.S.C. §522(f)).

                                                                                                             Property is (check one):
                                                                                                                        Claimed as exempt                                   Not claimed as exempt



                                                                                                             Property No. 2 (if necessary)
                                                                                                            Creditor's Name:                                                 Describe Property Securing Debt:




                                                                                                             Property will be (check one):
                                                                                                                       Surrendered                           Retained

                                                                                                             If retaining the property, I intend to (check at least one):
                                                                                                                        Redeem the property
                                                                                                                        Reaffirm the debt
                                                                                                                        Other. Explain _______________________________________________(for example, avoid lien
                                                                                                             using 11 U.S.C. §522(f)).

                                                                                                             Property is (check one):
                                                                                                                        Claimed as exempt                                   Not claimed as exempt
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                                                                                                              PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                              Each unexpired lease. Attach additional pages if necessary.)



                                                                                                                Property No. 1           NO Leased Property
                                                                                                               Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                   to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                      YES              NO


                                                                                                                Property No. 2 (if necessary)
                                                                                                               Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                   to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                      YES              NO


                                                                                                                Property No. 3 (if necessary)
                                                                                                               Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                   to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                      YES              NO
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                                                                                                                0
                                                                                                               ______ continuation sheets attached (if any)

                                                                                                              I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                              Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                                    October 3, 2013
                                                                                                              Date:_____________________________                          /s/ Denise Rossi
                                                                                                                                                                       Signature of Debtor




                                                                                                                                                                       Signature of Joint Debtor
                                                                                                                                     Case 13-33972-PGH                   Doc 1       Filed 10/04/13           Page 38 of 38
                                                                                                          B 201B (Form 201B) (12/09)
                                                                                                                                                United States Bankruptcy Court
                                                                                                                                                           Southern District of Florida



                                                                                                          In re   Denise Rossi                                                                         Case No.
                                                                                                                                    Debtor                                                                                    (If known)



                                                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                                                            Certification of [Non-Attorney] Bankruptcy Petition Preparer

                                                                                                                    I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the
                                                                                                           debtor the attached notice, as required by § 342(b) of the Bankruptcy Code
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                                                                                                            Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
                                                                                                            Address:                                                                           preparer is not an individual, state the Social Security
                                                                                                                                                                                               number of the officer, principal, responsible person,
                                                                                                                                                                                               or partner of the bankruptcy petition preparer.)
                                                                                                                                                                                               (Required by 11 U.S.C. § 110.)

                                                                                                            X
                                                                                                            Signature of Bankruptcy Petition Preparer or officer,
                                                                                                            Principal, responsible person, or partner whose Social
                                                                                                            Security number is provided above.




                                                                                                                                                                     Certification of the Debtor
                                                                                                                     I, (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
                                                                                                           Code

                                                                                                            Denise Rossi                                                                       X   /s/ Denise Rossi                        October 3, 2013
                                                                                                            Printed Names(s) of Debtor(s)                                                          Signature of Debtor                            Date

                                                                                                            Case No. (if known)                                                                X
                                                                                                                                                                                                   Signature of Joint Debtor, (if any)           Date




                                                                                                            Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                                                            Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                                                            NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by
                                                                                                            the debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
                                                                                                            petition preparers on page 3 of Form B1 also include this certification.
